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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00742-RBJ

   JAMES COREY GOODE, individually, and GOODE
   ENTERPRISE SOLUTIONS INC.

                                               Plaintiffs,

   v.

   GAIA, INC., JAY WEIDNER, CLIF HIGH, BENJAMIN
   ZAVODNICK, ALYSSA MONTALBANO, JIRKA
   RYSAVY, BRAD WARKINS AND KIERSTEN MEDVEDICH

                                               Defendants.



           NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT JAY WEIDNER’S
                    COUNTERCLAIMS PURUSUANT TO F.R.C.P. 41(a)


         Jay Weidner, by and through his undersigned counsel, Samuel J. Scheurich of The

Burnham Law Firm, P.C. hereby submits this Notice of Voluntary Dismissal of Defendant

Jay Weidner’s Counterclaims Pursuant to F.R.C.P. 41(a) and notifies the Court as follows:

   1. On March 31, 2024, the Court granted Jay Weidner’s Motion to Dismiss [129]. See

[390].

   2. Therefore, no claims remained against Jay Weidner, and only his Counterclaims

remain in this matter [210], filed on June 8, 2021.

   3. Pursuant to F.R.C.P. 41, Jay Weidner hereby voluntarily dismisses those claims.

See F.R.C.P. 41(a)(i).

   Date: April 12, 2024


                                               Respectfully submitted,

                                               /s/ Samuel J. Scheurich, Esq._______
                                               Samuel J. Scheurich, Esq.
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, I have caused to be electronically filed the foregoing with
the Clerk of Court using CM/EDF system which will send notification of such filing to the following e-
mail addresses:

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                                                     /s/ Jennifer N. Bacani
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                                         Jennifer N. Bacani, Paralegal
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